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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                   )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )      Civil Action No. 1:25-cv-01248-RC
                                                    )
DONALD J. TRUMP, President of the United            )
States, in his official capacity, et al.,           )
                                                    )
                      Defendants.                   )

                                     NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3(a), all defendants hereby appeal, to the

U.S. Court of Appeals for the D.C. Circuit, the Court’s May 29, 2025 order granting plaintiffs’

motion for a preliminary injunction, and accompanying opinion, ECF Nos. 35, 37.



DATED: May 29, 2025                                 Respectfully submitted,

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